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 1   Michael P. Kenny, Esq. (admitted pro hac vice)
     mike.kenny@alston.com
 2   Debra D. Bernstein, Esq. (admitted pro hac vice)
     debra.bernstein@alston.com
 3   ALSTON & BIRD LLP
     1201 West Peachtree Street
 4   Atlanta, Georgia 30309-3424
     Tel: (404) 881-7000
 5   Fax: (404) 881-7777
 6   James M. Wagstaffe, Esq. (SBN 95535)
     wagstaffe@kerrwagstaffe.com
 7
     KERR & WAGSTAFFE LLP
 8   101 Mission Street, 18th Floor
     San Francisco, California 94105-1576
 9   Tel: (415) 371-8500
     Facsimile: (415) 371-0500
10
     Attorneys for Plaintiffs Dell Inc. and Dell Products L.P.
11
     [Additional Counsel Listed on Signature Page]
12
                                   UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14                                    SAN FRANCISCO DIVISION

15
     In re: CATHODE RAY TUBE (CRT)                       Master File No. 3:07-cv-05944 JST
16   ANTITRUST LITIGATION
                                                         MDL No. 1917
17   Individual Case No. 13-cv-2171 (JST)
     Dell Inc.; Dell Products L.P. v. Hitachi, Ltd. et   STIPULATION REGARDING
18   al.,                                                SCHEDULING OF ORAL ARGUMENT
                                                         ON MOTION FOR SUMMARY
19   Individual Case No. 3:13-cv-01173-JST,              JUDGMENT ON STATUTE OF
     Sharp Electronics Corp., et al. v. Hitachi, Ltd.,   LIMITATIONS GROUNDS (MDL DKT
20   et al.,                                             NO. 3044)
21   Individual Case no. 3:13-cv-2776-JST,
     Sharp Electronics Corp., et al. v. Koninklijke
22   Philips Elecs., N.V. et al.,
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     STIPULATION REGARDING SCHEDULING OF ORAL ARGUMENT ON MOTION FOR SUMMARY JUDGMENT
     ON STATUTE OF LIMITATIONS GROUNDS (MDL DKT NO. 3044)
                                                               MDL NO. 1917 │ 3:07-cv-05944 JST
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 1          Plaintiffs Dell Inc. and Dell Products L.P. (collectively, “Dell”), Sharp Electronics Corporation
 2   and Sharp Electronics Manufacturing Company of America, Inc. (collectively “Sharp”), and
 3   Defendants LG Electronics, Inc. (“LGE”), Defendant Technologies Displays Americas LLC (“TDA”),
 4   Defendants Samsung SDI Co., Ltd., Samsung SDI America, Inc., Samsung SDI (Malaysia) Sdn. Bhd.,
 5   Samsung SDI Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co., Ltd., and
 6   Tianjin Samsung SDI Co., Ltd. (“Samsung SDI”), Defendants Thomson SA and Thomson Consumer
 7   Electronics, Inc. (“Thomson”), and Defendants Toshiba Corporation, Toshiba America, Inc., Toshiba
 8   America Information Systems, Inc., Toshiba America Consumer Products, L.L.C., and Toshiba
 9   America Electronic Components, Inc. (“Toshiba”) (collectively the “Moving Parties”), by and through
10   undersigned counsel, hereby stipulate as follows:
11          WHEREAS, on December 16, 2015, the Court entered its Order Regarding Scheduling of Oral
12   Arguments on Motions for Summary Judgment (MDL Dkt. No. 4253);
13          WHEREAS, that Order set argument on the Defendants’ Motion for Partial Summary
14   Judgment Against Dell and Sharp Plaintiffs on Statute of Limitations Grounds (MDL. Dkt. No. 3044)
15   (“Statute of Limitations Motion”) on January 20, 2016;
16          WHEREAS, Dell’s counsel has a conflict on January 20, 2016;
17          WHEREAS, Dell’s counsel has conferred with the Sharp and the remaining Moving Parties and
18   they are available for oral argument on the Statute of Limitations Motion on February 9, 2016—the
19   current date for argument on the “Withdrawal” motions; and
20          WHEREAS, Dell obtained consent from Sharp and the remaining Moving Parties to seek leave
21   of Court to reschedule the argument on the Statute of Limitations Motion for February 9, 2016.
22          IT IS HEREBY STIPULATED AND AGREED by and between counsel for Dell, Sharp, LGE,
23   TDA, Samsung SDI, Thomson, and Toshiba, subject to the concurrence of the Court, that:
24          Argument on the pending Statute of Limitations Motion (MDL. Dkt. No. 3044) will be held on
25   February 9, 2016.
26   PURSUANT TO STIPULATION, IT IS SO ORDERED.
27           January 4, 2016
     Dated: ______________                               _____________________________
                                                         Honorable Jon S. Tigar
28                                                       United States District Judge
     STIPULATION REGARDING SCHEDULING OF ORAL ARGUMENT ON MOTION FOR SUMMARY JUDGMENT
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                                                               MDL NO. 1917 │ 3:07-cv-05944 JST
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 1         Date: December 22, 2015          Respectfully submitted,
 2                                          /s/ Michael P. Kenny
 3                                          Michael P. Kenny
                                            Debra D. Bernstein
 4                                          ALSTON & BIRD LLP
                                            1201 West Peachtree Street
 5                                          Atlanta, Georgia 30309-3424
                                            Telephone: (404)-881-7000
 6                                          Facsimile: (404)-881-7777
 7                                          Email: mike.kenny@alston.com
                                                    debra.bernstein@alston.com
 8
                                            James M. Wagstaffe, Esq. (SBN 95535)
 9                                          KERR & WAGSTAFFE LLP
                                            101 Mission Street, 18th Floor
10
                                            San Francisco, California 94105-1576
11                                          Telephone: (415)-371-8500
                                            Facsimile: (415)371-0500
12                                          Email: wagstaffe@kerrwagstaffe.com

13                                          Counsel For Plaintiffs Dell Inc. and Dell Products L.P.
14
                                            /s/ Craig A. Benson
15                                          Kenneth A. Gallo (pro hac vice)
                                            Joseph J. Simons (pro hac vice)
16                                          Craig A. Benson (pro hac vice)
                                            PAUL, WEISS, RIFKIND, WHARTON, & GARRISON
17                                          LLP
                                            2001 K Street, NW
18                                          Washington, DC 20006
                                            Telephone: (202) 223-7300
19                                          Facsimile: (202) 223-7420
                                            Email: kgallo@paulweiss.com
20                                                  jsimons@paulweiss.com
                                                    cbenson@paulweiss.com
21
                                            Stephen E. Taylor (SBN 058452)
22                                          Jonathan A. Patchen (SBN 237346
                                            TAYLOR & COMPANY LAW OFFICES, LLP
23                                          One Ferry Building, Suite 355
                                            San Francisco, California 94111
24                                          Telephone: (415) 788-8200
                                            Facsimile: (415) 788-8208
25                                          Email: staylor@tcolaw.com
                                                   jpatchen@tcolaw.com
26
                                            Counsel for Plaintiffs Sharp Electronics Corporation and
27                                          Sharp Electronics Manufacturing Co. of America, Inc.

28
                                                 2
     STIPULATION REGARDING SCHEDULING OF ORAL ARGUMENT ON MOTIONS FOR SUMMARY JUDGMENT
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 1                                          /s/ Brad D. Brian_____________________
                                            BRAD D. BRIAN (SBN 079001)
 2                                          brad.brian@mto.com
                                            GREGORY J. WEINGART (SBN 157997)
 3                                          gregory.weingart@mto.com
                                            SUSAN E. NASH (SBN 101837)
 4                                          susan.nash@mto.com
                                            E. MARTIN ESTRADA (SBN 223802)
 5                                          martin.estrada@mto.com
                                            MUNGER, TOLLES & OLSON LLP
 6                                          355 South Grand Avenue, Thirty-Fifth Floor
                                            Los Angeles, CA 90071-1560
 7                                          Telephone: (213) 683-9100
                                            Facsimile: (213) 687-3702
 8
                                            Counsel for Defendant LG Electronics, Inc.
 9
                                            /s/ Donald Wall
10                                          Mark C. Dosker
                                            Nathan Lane, III
11
                                            SQUIRE PATTON BOGGS (US) LLP
12                                          275 Battery Street, Suite 2600
                                            San Francisco, California 94111
13                                          Telephone: (415) 954-0200
                                            Facsimile: (415) 393-9887
14
                                            Donald Wall (pro hac vice)
15
                                            SQUIRE PATTON BOGGS (US) LLP
16                                          1 East Washington Street, Suite 2700
                                            Phoenix, Arizona 85004
17                                          Telephone: (602) 528-4000
                                            Facsimile: (602) 253-8129
18

19                                          Counsel for Defendant Technologies Displays Americas
                                            LLC with respect to all cases except Sears, Roebuck and
20                                          Co., et al. v. Technicolor SA, et al. and Office Depot v.
                                            Technicolor SA, et al.
21

22                                          /s/ Ryan M. Hurley
23                                          Kathy L. Osborn (pro hac vice)
                                            Ryan M. Hurley (pro hac vice)
24                                          FAEGRE BAKER DANIELS LLP
                                            300 N. Meridian Street, Suite 2700
25                                          Indianapolis, Indiana 46204
                                            Tel: (317) 237-0300
26                                          Fax: (317) 237-1000
                                            Email: kathy.osborn@faegrebd.com
27                                                  ryan.hurley@faegrebd.com
28
                                                 3
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 1                                          Jeffrey S. Roberts (pro hac vice)
                                            FAEGRE BAKER DANIELS LLP
 2                                          3200 Wells Fargo Center
                                            1700 Lincoln Street
 3                                          Denver, Colorado 80203
                                            Tel: (303) 607-3500
 4                                          Fax: (303) 607-3600
                                            Email: jeff.roberts@faegrebd.com
 5

 6                                          Counsel for Defendants Thomson SA and Thomson
                                            Consumer Electronics, Inc.
 7
                                            /s/ Lucius B. Lau
 8
                                            Christopher M. Curran (pro hac vice)
 9                                          Lucius B. Lau (pro hac vice)
                                            Dana E. Foster (pro hac vice)
10                                          WHITE & CASE LLP
                                            701 Thirteenth Street, N.W.
11                                          Washington, DC 20005
                                            Tel: (202) 626-3600
12                                          Fax: (202) 639-9355
                                            Email: ccurran@whitecase.com
13                                                  alau@whitecase.com
                                                    defoster@whitecase.com
14
                                            Counsel for Defendants Toshiba Corporation, Toshiba
15                                          America, Inc., Toshiba America Information Systems, Inc.,
                                            Toshiba America Consumer Products, L.L.C., and Toshiba
16                                          America Electronic Components, Inc.
17
                                          /s/ Michael W. Scarborough
18
                                          Gary L. Halling (66087)
19                                        James L. McGinnis (95788)
                                          Michael W. Scarborough (203524)
20                                        SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
                                          Four Embarcadero Center, 17th Floor
21                                        San Francisco, California 94111-4109
                                          Telephone: (415)-434-9100
22
                                          Facsimile: (415)-434-3947
23                                        Email: ghalling@sheppardmullin.com
                                                  jmcginnis@sheppardmullin.com
24                                                mscarborough@sheppardmullin.com
25                                        Counsel for Defendants Samsung SDI America, Inc.,
26                                        Samsung SDI Co., Ltd., Samsung SDI (Malaysia) Sdn. Bhd.,
                                          Samsung SDI Mexico S.A. de C.V., Samsung SDI Brasil Ltda.,
27                                        Shenzhen Samsung SDI Co. Ltd. and Tianjin Samsung SDI
                                          Co., Ltd.
28
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            Pursuant to General Order No. 45, § X-B, the filer attests that concurrence in the filing of this
 3
     document has been obtained from each of the above signatories.
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